              Case 18-19934               Doc 1-1          Filed 07/17/18 Entered 07/17/18 11:37:23                                Desc Signature
                                                                  Pages Page 1 of 8                                                                   7/17/18 10:S7AM




|Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number of known)                                                          Chapter you are filing under:

                                                                               B Chapter 7
                                                                               □ Chapter 11
                                                                               □ Chapter 12
                                                                               □ Chapter 13                                     □ Check if this an
                                                                                                                                    amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called si Joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In Joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.

Part?:     Sign Below

For you                            I have examined this petition, and 1 declare under penally of perjury that the information provided Is true and correct.

                                   if I have chosen to file under Chapter 7, 1 am aware that I may proceed, if eligible, under Chapter 7,11,12, or 13 of title 11,
                                   United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   if no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out ttiis
                                   document, i have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   i request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   i understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankfuptcy;?^ can rj^it^ fi^s up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,1519,
                                   artdSi^.l./
                                   Peter N Galgano                                                   Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      July 17, 2018                                    Executed on
                                                    MM/DD/YYYY                                                       MM/DD/YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 1
             Case 18-19934             Doc 1-1             Filed 07/17/18 Entered 07/17/18 11:37:23                                Desc Signature
                                                                  Pages Page 2 of 8                                                                  7/17/1810:S7AM

Debtor 1   Peter N Galgano                                                                                Case number (if known)




For your attorney, if you are   I. the attorney for the debtor(s) named in this petition, declare that 1 have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7,11.12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. 1 aiso certify that i have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
if you are not represented by   and. iry«.case in whi(^§ 707(b)(4](D) applies, certify that i have no knowledge after an inquiry that the information in the
an attorney, you do not need    schepuies fiie|$ with mapeMtiojii i^ncorrect.
to file this page.
                                                                                                   Date         July 17, 2018
                                Signature of Attorney for*Debtor                                                MM / DD / YYYY


                                David P. Leibowltz 1612271
                                Printed name

                                Lakelaw
                                Firm name

                                53 W Jackson Blvd
                                Suite 1115
                                Chicago, iL 60604
                                Number. Street, City, State & ZIP Code

                                Contact ptione    312 3601501                                Email address        dlelbowitz@iakelaw.com
                                1612271IL
                                Bar number & State




 Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
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                                                                       Pages Page 3 of 8                                                              7/17/18 10:57AM




 Fill In this Information to Identify your case:

I Debtor 1                  Peter N Galgano
                            First Name                       Middle Name             Last Name

Debtor 2
(Spouse If, filing)         First Name                       Middle Name             Last Name


United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                                         □ Check If this Is an
                                                                                                                                     amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules
If two married people are filing together, both are equally responsible for supplying correct Information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152,1341,1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

               No

        □      Yes. Name of person                                                                               Attach Bankruptcy Petition Preparer's Notice,
                                                                                                                 Declaration, and Signature (Official Form 119)


      Unde                    perjury,.! declare that I have read the summary and schedules filed with this declaration and
      that they                          Freet.



             Peter N Galgano                                                             Signature of Debtor 2
             Signature of Debtor 1

             Date       July 17. 2018                                                    Date




Official Form 106Dec                                        Declaration About an Individual Debtor's Schedules
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[Fill in this information to identify your case:
Debtor 1                Peter N Galgano
                         First Name                       Middle Name                  Last Name

Debtor 2
(Spouse if, filing)      First Name                       Middle Name                  Last Name


United States Bankruptcy Court for the:             NORTHERN DiSTRICT OF iLLINOiS

Case number
(if known)                                                                                                                        □ Check if this is an
                                                                                                                                      amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                        4/16
Be as compiete and accurate as possibie. if two married people are fiiing together, both are equaiiy responsibie for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additionai pages, write your name and case
number (if known). Answer every question.

 Part 12:      Sign Below

i have read the answers on this Statement of Financial Affairs and any attachments, and i deciare under penaity of perjury that the answers
are true and correct, i understand that making a false statement, conceaiing property, or obtaining money or property by fraud In connection
              ^rupte^case can result In fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.Sj:. ®                           and 3571.



          N Galgano                                                     Signature of Debtor 2
Signature of Debtor 1

Date       July 17. 2018                                                Date


Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy {Omcia\ Form 107)?
■ No
□ Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
■ No
□ Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Deciaration, and Signature (Official Form 119).




Official Form 107                                    Statement of Financial Affairs for individuals Filing for Bankruptcy                                  page 1

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|Fill in this information to identify your case:
Debtor 1                  Peter N Galgano
                          First Name                      Middle Name              Last Name

Debtor 2
(Spouse If. filing)       First Name                      Middle Name              Last Name


United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

Case number
(if known)                                                                                                               □ Check if this is an
                                                                                                                             amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                 12/15
                              U I declare that i have indicated my intention about any property of my estate that secures a debt and any personal
                                        Expired lease.

                                                                                  X
        RefterN^^aigafro                                                              Signature of Debtor 2
       Signature of Debtor 1

        Date          July 17. 2018                                               Date




Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter 7                              page 1

                                                                                                                                      Best Case Bankruptcy
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|Fill in this information to identify your case:                                             Check one box only as directed In this form and in Form
                                                                                             122A-1Supp:
Debtor 1              Peter N Galgano

Debtor 2                                                                                        H 1. There Is no presumption of abuse
(Spouse, tf filing)

United States Bankruptcy Court for the:           Northern District of Illinois
                                                                                               n 2.The calculation to determine if a presumption of abuse
                                                                                                      applies will be made under Chapter 7 Means Test
                                                                                                      Calculation (Official Form 122A-2).
Case number
(If known)
                                                                                               O 3. The Means Test does not apply now because of
                                                                                                      qualified military service but it could apply later.
                                                                                                □ Check if this Is an amended filing
Official Form 122A -1
Chapter 7 Statement of Your Current Monthly Income                                                                                                           12/15


                       Be ow

                      li/g h^, I declare u^der penalty of perjury that the information on this statement and in any attachments is true and correct

                                                             U.
                             largano              iT-
                  Signature of Debtor 1
         Date July 17, 2018
                  MM/DD /YYYY

               If you checked line 14a, do NOT fill out or file Form 122A-2.
               If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                    Chapter 7 Statement of Your Current Monthly Income                                              page 1
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B2030(Form 2030)(12/15)
                                                            United States Bankruptcy Court
                                                                    Northern District of Illinois

 In re      Peter N Galgano                                                                                     Case No.
                                                                                 Debtor(s)                      Chapter    7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me,for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                    $                8,000.00
             Prior to the filing of this statement I have received                                          $                8,000.00
             Balance Due                                                                                    $                     0.00

2.    The source of the compensation paid to me was:

             □ Debtor             ■     Other (specify):           Debtor's employer

3.    The source of compensation to be paid to me is:

             B Debtor             □     Other (specify):

4.       H 1 have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

         D I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
           copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to fi le a petition in bankruptcy;
      b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d. [Other provisions as needed]
                  Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                  reaffirmatlon agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                  522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtoifs), the above-disclosed fee does not include the following service:
                  Representation of the debtors in any dischargeabillty actions, judicial lien avoidances, relief from stay actions or
                  any other adversary proceeding.
                                                                          CERTIFICATION

         I certify that the foregoing is a complete statement of any agreement or arrangeinenMor payment Uvrilc for remesentation of the debtor(s) in
 this bankruptcy proceeding.                                                                 ///y       y   /

     July 17, 2018
     Date                                                                        David P. Leibowitz 1612271
                                                                                 Signature ofAttorney
                                                                                 Lakelaw
                                                                                 53 W Jackson Blvd
                                                                                 Suite 1115
                                                                                 Chicago, IL 60604
                                                                                 312 360 1501    Fax: 312 360 1502
                                                                                 dleibowitz@lakelaw.com
                                                                                 Name oflaw firm




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                                                              United States Bankruptcy Court
                                                                     Northern District of Illinois

 In re      Peter N Galgano                                                                             Case No.
                                                                                 Debtor(s)              Chapter




                                                     VERIFICATION OF CREDITOR MATRIX


                                                                                         Number of Creditors:                              33




           The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
           (our) knowledge.




Date: July 17, 2018
                                                                       Peter N Galgano
                                                                       Signature of Debtor




                                                                                                                            Best Case Bankruptcy
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